Case 1:20-cv-01814-JLT-EPG Document 111-1 Filed 12/16/22 Page 1 of 3


                             EXHIBIT 1
Case  1:20-cv-01814-JLT-EPG
  106 STAT. 4720        PUBLICDocument 111-1 Filed
                               LAW 102-575—OCT. 30, 12/16/22
                                                     1992    Page 2 of 3
                ated with the Hamilton City Pumping Plant. This authorization
                shall not be deemed to supersede or alter existing authoriza-
                tions for the participation of other Federal agencies in the
                mitigation program. Seventy-five percent shall be considered
                a nonreimbursable Federal expenditure, and 25 percent shall
                be paid by the State of Califorma.
                      (21) assist the State of California in efforts to develop
                and implement measures to avoid losses of juvenile anadromous
                fish resulting firom unscreened or inadequately screened diver-
                sions on the Sacramento and San Joaquin rivers, their tribu-
                taries, the Sacramento-San Joaquin Delta, and the Suisun
                Marsh. Such measures shall include but shall not be limited
                to construction of screens on unscreened diversions, rehabilita-
                tion of existing screens, replacement of existing non-fimctioning
                screens, and relocation of diversions to less fishery-sensitive
                areas. The Secretar/s share of costs associated with activities
                authorized under this paragraph shall not exceed 50 percent
                of the total cost of any such activity.
                      (22) provide such incentives as the Secretary determines
                to be appropriate or necessary, consistent with the ^oals and
                objectives of this title, to encourage farmers to participate in
                a program, which the Secretary shall develop, under which
                such farmers will keep fields flooded during appropriate time
                periods for the purposes of waterfowl habitat creation and
                maintenance and for Central Valley Project yield enhancement;
                Provided, That such incentives shall not exceed $2,000,000
                annually, either directly or through credits against other
                contractual payment obligations, including the pricing waivers
                authorized under subsection 3405(d) of this tile; Provided fur-
                ther. That the holder of the water contract shall pass such
                incentives through to farmers participating in the program,
                less reasonable contractor costs, if any; And provided further.
                That such water may be transferred subject to section 3405(a)
                of this title only if the farmer waives all rights to such incen-
                tives. This provision shall terminate by the year 2002.
                     (23) in order to meet Federal trust responsibilities to pro-
                tect the fishery resources of the Hoopa Valley Tribe, ana to
                meet the fishery restoration goals of the Act of October 24,
                1984, Public Law 98-^41, provide through the Trinity River
                Division, for water years 1992 through 1996, an instream
                release of water to uie Trinity River of not less than three
                himdred and forty thousand acre-feet per year for the purposes
                of fishery restoration, propagation, and maintenance and,
                          (A) by September 30, 1996, the Secretary, after con-
                     sultation with the Hoopa Valley Tribe, shall complete the
                     Trinity River Flow Evaluation Study currently being con-
                     ducted by the United States Fish and Wildlife Service
                     imder the mandate of the Secretarial Decision of Janu-
                     ary 14, 1981, in a manner which insures the development
                     of recommendations, based on the best available scientific
                     data, regarding permanent instream fishery flow require-
                     ments and Trinity River Division operating criteria and
                     procedures for the restoration and maintenance of the Trin-
                     ity River fishery; and
                          (B) not later than December 31, 1996, the Secretary
                     shall forward the recommendations of the Trinity River
                     Flow Evaluation Study, referred to in subparagraph (A)
Case 1:20-cv-01814-JLT-EPG Document 111-1 Filed 12/16/22 Page 3 of 3
                   PUBLIC LAW 102-575—OCT. 30, 1992                        106 STAT. 4721

                of this paragraph, to the Committee on Energy and Natural
                Resources and the Select Committee on Indian Affairs of
                the Senate and the Committee on Interior and Insular
                Affairs and the Committee on Merchant Marine and Fish-
                eries of the House of Representatives. If the Secretary
                and the Hoopa Valley Tribe concur in these recommenda-
                tions, any increase to the minimum Trinity River instream
                fishery releases established under this paragraph and the
                operating criteria and procedures referred to in subpara-
                graph (A) shall be implemented accordingly. If the Hoopa
                Valley Tribe and the Secretary do not concur, the minimum
                Trinity River instream fishery releases established under
                this parajp;raph shall remain in effect unless increased by
                an Act of Congress, appropriate judicial decree, or agree-
                ment between the Secretary and the Hoopa Valley TMbe.
                Costs associated with implementation of this paragraph
                shall be reimbursable as operation and maintenance
                expenditiu'es pursuant to existing law.
      If the Secretary and the State of California determine that long-
      term natural fishery productivity in all Central Valley Project con-
      trolled rivers £uid streams resmting from implementation of this
      section exceeds that which existed in the absence of Central Vallev
      Project facilities, the costs of implementing those measures which
      are determined to provide such enhancement shall become credits
      to offset reimbursable costs associated with implementation of this
      subsection.
           (c) SAN JOAQUIN AND STANISLAUS RIVERS.—The Secretary shall,
      by not later than September 30,1996:
                (1) develop a comprehensive plan, which is reasonable,
           prudent, and feasible, to address fish, wildlife, and habitat
           concerns on the San Joaauin River, including but not limited
           to the streamflow, channel, riparian habitat, and water quality
           improvements that would be needed to reestablish where nec-
           essary and to sustain naturally reproducing anadromous fish-
           eries from Friant Dam to its confluence with the San Francisco
           Bay/Sacramento-San Joaq^uin Delta Estuary. Such plan shall
           be developed in cooperation with the California Department
           of Fish and Game and in coordination with the San Joaquin
           River Management Program under development by the State
           of California; shall comply with and contain any documents
           required by the National Environmental Policy Act and contain
           findings setting forth the basis for the Secretarjr's decision
           to adopt and implement the plan as well as recommendations
           concerning the need for subsequent Congressional action, if
           any; and shall incorporate, among other relevant factors, the
           potential contributions of tributary streams as well as the alter-
           natives to be investigated imder paragraph (2) of this sub-
           section. During the time that the Secretai^ is developing the
           plan provided for in this subsection, and imtil such time as
           Congress has authorized the Secretary to implement such plan,
           with or without modifications, the Secretary shall not, as a
           measure to implement this title, make releases for the restora-
           tion of flows between Gravelly Ford and the Mendota Pool
           and shall not thereafter make such releases as a measure
           to implement this title without a specific Act of Congress
           authorizing such releases. In lieu of such requirement, and
           imtil such time as flows of sufficient quantity, quality and
